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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION


 UNITED STATES OF AMERICA,                  )
                                            )
 Plaintiff,                                 )
                                            )
 vs.                                        )      No. 2:00-CR-171
                                            )
 DANTE PALM,                                )
                                            )
 Defendant.                                 )

                             OPINION AND ORDER

       This matter is before the Court on the Motion for Retroactive

 Application of Sentencing Guidelines to Crack Cocaine Offense,

 filed by Defendant, Dante Palm, on July 17, 2008.             For the reasons

 set forth below, Defendant’s request for a sentencing modification

 (DE #661)is DENIED.



 BACKGROUND

       On   February   20,   2003,   this       Court   accepted    Palm’s    plea

 agreement, and he was adjudged guilty of Count 1, conspiracy to

 distribute and possess with intent to distribute crack cocaine and

 marijuana.    That same day, Defendant was sentenced to a 188 month

 term of imprisonment.        Defendant filed a letter on February 14,

 2008, stating his belief that he was entitled to a sentence

 modification pursuant to 18 U.S.C. section 3582(c) in light of the

 November 1, 2007, United States Sentencing Guidelines, U.S.S.G.
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 §2D1.1(c) "crack" amendment as applied retroactively by U.S.S.G.

 ¶1B1.10.

       Upon receiving the instant request, this Court appointed

 counsel to represent Defendant in an attempt to effectively and

 efficiently resolve this issue.              On July 17, 2008, Defendant’s

 counsel filed the instant motion, arguing that Palm’s sentence

 should be reduced.        On July 28, 2008, the Government filed a

 response in opposition to the requested lower sentence.

       At the time of his sentencing, Defendant’s base offense level

 was 38 and his criminal history category was IV.                    The original

 sentencing guideline range was 292 to 365 months, and the Court

 sentenced Defendant to 188 months after granting a motion for

 downward departure for the Government.



 DISCUSSION

       When the Court originally sentenced Defendant in 2003, the

 Sentencing Guidelines set distribution of 1.5 kilograms of crack

 cocaine as the threshold for the maximum base offense level of 38.

 See U.S. Sentencing Guidelines Manual (“U.S.S.G.”) § 2D1.1(c)(1)

 (2003).      As   the   result   of    Amendment     706   to   the    Sentencing

 Guidelines, a quantity of 4.5 kilograms of crack is now the

 threshold for the maximum base offense level of 38.                    U.S.S.G. §




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 2D1.1(c)(1)(2007).1

       The Government argues that Amendment 706 has no retroactive

 impact in this case because, even as amended, § 2D1.1(c)(1) still

 results in Palm being assigned the maximum base offense level of

 38.   This is because the quantity of crack cocaine attributed to

 Palm at the time he was sentenced exceeded 4.5 kilograms.                       The

 presentence    investigation    report       (“PSR”)      prepared    for    Palm’s

 sentencing found that Palm was responsible for 21.36 kilograms of

 crack.    (PSR ¶¶ 12, 13.)   Defendant concedes that he did not object

 to the 21.36 kilograms of crack cocaine attributed to him, and

 during his sentencing, the Court made the following finding:

 “[t]here being no objections to the factual statements contained in

 the   presentence   investigation      report,     the     court   adopts     those

 statements as its findings of fact.”              (Feb. 20, 2003 Sentencing

 Tr., p. 6.)

       Although Palm concedes that he “would not qualify for a

 reduction if, in fact, a determination was made that he dealt 4.5

 kilograms or greater” (Def.’s Mot. ¶ 4), Defendant presents several

 arguments as to why he should not be held responsible for 21.36

 kilograms of crack.       First, he argues that at the time of his

 sentencing, there was no reason to object to the amount because any



       1
       On December 11, 2007, the Commission added Amendment 706 to
 the list of amendments stated in Section 1B1.10(c) which may be
 applied retroactively, effective March 3, 2008. U.S.S.G. App. C,
 Amend. 713.

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 number over 1.5 kilograms triggered the maximum base offense level

 of 38.     (Def.’s Mot., ¶ 6.)         However, this same argument was

 recently addressed and rejected by the Hon. Judge James T. Moody:

             Regardless of [defendant’s] lack of incentive to
             contest the quantity issue at the time he was
             sentenced, a chance to “take back” a fact that
             [defendant] has already admitted is unwarranted.
             The fact remains that, based on a written statement
             [defendant] signed outlining his drug-dealing
             activities, the probation officer calculated that
             he was responsible for at least 59.93 kilograms of
             crack cocaine, and the court adopted that quantity
             as its factual finding. There is simply no reason
             to revisit now the factual findings that have
             already been made in this case.         U.S.S.G. §
             1B1.10(a)(3)    states   that    “consistent   with
             subsection (b), proceedings under 18 U.S.C. §
             3582(c)(2) and this policy statement do not
             constitute a full resentencing of the defendant.

 United States v. Eddie Nalls, slip op., 2:00-cr-105 (July 2, 2008).

 This Court agrees that there is no reason to revisit the factual

 findings previously made in this case.            Defendant implies that the

 Court did not actually find that Palm was responsible for 21.36

 kilograms of crack because it did not “specifically reference 21.

 36 kilograms of crack cocaine.” (Def.’s Mot., ¶ 6.) However, this

 quantity was reported in the PSR, and this Court adopted all the

 statements of fact in the PSR as the Court’s findings of fact.

 (Feb. 20, 2003 Sent. Tr., p. 6.)           Palm also faults the information

 contained in the PSR, claiming it may have been improperly obtained

 from him during plea negotiations, and contending that some of the

 information does not contain a source.            According to the PSR, the

 information was provided by Eddie Nalls, a cooperating defendant.

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 (PSR, ¶¶ 11-13.)         If Palm wished to contest the accuracy of the

 information or source, he should have objected at the time of the

 PSR.    No such objection was made.          (PSR, pp. 14-17.)

        As provided by the Government, there is ample case law to

 support the premise that if the court previously made a finding of

 more than 4.5 kilograms of crack, or the court adopted findings of

 the PSR which included that fact, or the defendant admitted this

 fact in a change of plea hearing, the court in the section 3582(c)

 proceeding may rely on the higher quantity and reaffirm the

 application of offense level 38.              See, e.g., United States v.

 Woodson, No. 08-2022, slip op. at 1, 2008 WL 2369636 (8th Cir. June

 12,    2008)   (ruling    where   sentence     was   based   on   finding     that

 defendant’s relevant conduct involved more than 4.5 kilograms of

 crack, defendant’s “offense level would not change, his guideline

 range would not be lowered, and his original sentence is unaffected

 by the amendments”); United States v. Hubbard, No. 6:92-cr-35-ORL-

 19DAB, 2008 WL 977344, at *2 (M.D. Fla. Apr. 9, 2008) (denying

 motion for reduction in sentence where offense involved more than

 4.5 kilograms of crack); United States v. Degeorge, No. 4:01-cr59-

 SPM, 2008 WL 2359903 (N.D. Fla. June 5, 2008) (denying motion to

 reduce sentence); United States v. King, No. CR01-2003-LLR, 2008 WL

 2036894, at *1 (N.D. Iowa May 8, 2008) (finding “the court is

 unable to rely on Amendment 706 to reduce the defendant’s sentence

 . . . [b]ecause the sentence was based on a quantity of crack that


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 exceeded 4.5 kilograms.”); United States v. Quary, No. 95-40083-08-

 SAC, 2008 WL 1766951, at *2 (D. Kan. Apr. 15, 2008) (denying motion

 to reduce sentence because application of Amendment 706 did not

 lower defendant’s applicable guideline range due to drug amount);

 United States v. Milton, No. 8:96CR46, slip op., 2008 WL 961853 (D.

 Neb. Apr. 9, 2008); United States v. Grant, No. 02-cr-022-02-JD,

 slip op., 2008 WL 906409 (D.N.H. Apr. 3, 2008) (denying reduction

 in   base   offense   because   the    offense     involved     more       than   4.5

 kilograms of cocaine base); United States v. Herrera, No. CR-92-

 209-D, 2008 WL 410074 (W.D. Okla. Feb. 12, 2008); United States v.

 Wright, No. 93-386-5, 2008 WL 2265272 (E.D. Pa. June 3, 2008);

 United States v. Stevens, No. 7:90-cr-00310, slip op., 2008 WL

 2330225 (D.S.C. June 3, 2008) (denying motion to reduce sentence

 where amended guidelines range was the same because the amount of

 crack involved); United States v. Crenshaw, No. 3:96CR000047, slip

 op., 2008 WL 2227564 (W.D. Va. May 29, 2008) (holding “[b]ecause

 the recommended guideline range has not changed [due to the drug

 quantity], this court lacks the authority to reduce the defendant’s

 sentence.”).

       Courts also agree that, as in this case, where application of

 the amendment in question does not result in a different sentencing

 range, the sentence may not be reduced.2            See, e.g., United States


       2
        Title 18 U.S.C. § 3582(c)(2) permits the reduction of a
 defendant’s sentence when he was “sentenced to a term of
 imprisonment based on a sentencing range that has subsequently

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 v. McFadden, 523 F.3d 839, 840-41 (8th Cir. 2008) (rejecting motion

 to reduce under crack amendment); United States v. Bruce, No.

 3:94cr00061-gmw-1, slip op., 2008 WL 678643, at *1 (W.D. Va. Mar.

 11, 2008) (ruling the offense level should not be reduced because

 the amount exceeded 4.5 kilograms).             Because this Court found that

 the offense committed by Palm involved more than 4.5 kilograms,

 there is no basis for a reduction of sentence in this case.                      Palm

 would have received a base offense level of 38 even under the

 amended guidelines. Therefore, Defendant does not benefit from the

 amendment.       Had this Court calculated Defendant’s base offense

 level    using    the    November   1,    2007     U.S.S.G.     §2D1.1(c)       crack

 amendment,    this      Court   still    would     have     imposed    a     term   of

 imprisonment of 188 months.



 CONCLUSION

         For the reasons set forth above, the Motion for Retroactive

 Application of Sentencing Guidelines to Crack Cocaine Offense,

 filed by Defendant, Dante Palm, on July 17, 2008, is DENIED.

 DATED: August 5, 2008                          /s/ RUDY LOZANO, Judge
                                                United States District Court



 been lowered by the Sentencing Commission.” 18 U.S.C. § 3582.
 However, U.S.S.G. § 1B1.10(a)(2)(B) provides that “[a] reduction
 in the defendant’s term of imprisonment is not consistent with
 this policy statement and therefore is not authorized under 18
 U.S.C. § 3582(c)(2) if . . . an amendment listed in subsection
 (c) does not have the effect of lowering the defendant’s
 applicable guideline range.” U.S.S.G. § 1B1.10(a)(2)(B).

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